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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            SOUTHERN DIVISION AT LONDON


DAVID WILSON, as Administrator of the
Estate of Lisa Noble, Deceased, Plaintiff
                                          )
vs.                                       )
                                          )          CIVIL ACTION NO. 6:17-157-KKC
                                          )
BEACON TRANSPORT, LLC and                 )
TERRAN COOPER, Defendants                 )
                                          )
____________________________________


TERRAN COOPER’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S NOTICE OF
                 DEPOSITION OF TERRRAN COOPER


       Defendant, Terran Cooper, by and through his attorneys, and serves the following

Responses and Objections to Plaintiff’s Notice of Deposition of Terran Cooper, and in support

thereof avers as follows:

       Terran Cooper will be produced but within the scope of Kentucky’s Rules of Civil

Procedure and subject to the following objections:

       1. Terran Cooper objects to the notice and requests therein to the extent they

demand and seek anything beyond the scope and requirements under Kentucky’s Rules of Civil

Procedure;

       2. Terran Cooper objects to the notice and the requests therein on the grounds

they are vague and ambiguous;

       3. Terran Cooper objects to the notice and the requests therein to the extent they

are overly broad and unduly burdensome;

       4. Terran Cooper objects to the notice and the requests therein to the extent they
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seek information which is not reasonably calculated to lead to the discovery of admissible evidence;

        5. Terran Cooper objects to the notice and the requests therein to the extent they

seek information protected by the attorney-client privilege and/or work product doctrine;

        6. Terran Cooper objects to the notice and the requests therein to the extent they

may seek confidential and proprietary information. Should any such information be discoverable

and addressed at the depositions, same should be sealed and subject to Orders making some

Confidential;

        7. Terran Cooper objects to the notice and the requests therein to the extent they

are improperin form, including, but not limited to, for example, to the extent the notice and requests

may presume matters not established by the evidence or which may be vague suggesting so such

that the production of such witnesses does not concede nor admit to the form and language used

within the notice and requests;

        8. Terran Cooper restates, reiterates and incorporates herein by reference all

objections made within its formal responses to written discovery on the issues and requests made

part of and/or covered by the notice and requests therein;

        9. Terran Cooper reserves all rights to raise and assert additional objections,

including verbal objections not necessarily in the writing, to the notice and the requests therein as

they become identified and apparent as this matter proceeds.

        This the 13th day of February, 2018.




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                                                     HARLAN E. JUDD & ASSOCIATES, PSC
                                                     869 Broadway
                                                     P.O. Box 51093
                                                     Bowling Green, KY 42102
                                                     Telephone: (270) 904-4141
                                                     Facsimile: (888) 590-2842

                                                     /s/Harlan E. Judd, III
                                                     Harlan E. Judd, III




                                CERTIFICATE OF SERVICE

        This is to certify that a true and exact copy of the foregoing was electronically forwarded
to the following:

Randall Jewell
Jewell Law Office, PLLC
P.O. Drawer 670
Barbourville, Kentucky 40906

Billy J. Taylor
Taylor Law Office, PLLC
110 Know Street, Suite A
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Timothy D. Lange
Benson Risch & Lange, PLLC
One Riverfront Plaza
Suite 2150
401. W. Main Street
Louisville, Kentucky 40202

       This the 13th day of February, 2018.



                                                     /s/Harlan E. Judd, III
                                                     Harlan E. Judd, III
                                                     Counsel for the Defendants



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